
The People of the State of New York, Respondent, 
againstJuan Carlos Rios-Gaviria, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Kevin B. McGrath, Jr., J. at plea; Ann E. Scherzer, J., at replea and sentencing), rendered November 10, 2014, convicting him, upon a plea of guilty, of harassment in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Kevin B. McGrath, Jr., J. at plea; Ann E. Scherzer, J., at replea and sentencing), rendered November 10, 2014, affirmed.
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders, and, upon an independent review of the record, agree that there is no valid appealable issue that could be raised on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: September 21, 2016










